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                                             THE HONORABLE JOHN C. COUGHENOUR

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 5
                           UNITED STATES DISTRICT COURT
 6                        WESTERN DISTRICT OF WASHINGTON
                                    AT SEATTLE
 7

 8       STATE OF WASHINGTON; STATE OF
     ARIZONA; STATE OF ILLINOIS; and STATE OF
 9                  OREGON,

10                      Plaintiffs,
11
                            v.
12
         DONALD TRUMP, in his official capacity as
13   President of the United States; U.S. DEPARTMENT               NO. 2:25-cv-00127
        OF HOMELAND SECURITY; BENJAMINE                     [PROPOSED] BRIEF OF AMICI
14       HUFFMAN, in his official capacity as Acting              CURIAE LOCAL
        Secretary of Homeland Security; U.S. SOCIAL         GOVERNMENTS AND LOCAL
15
       SECURITY ADMINISTRATION; MICHELLE                    GOVERNMENT OFFICIALS IN
16          KING, in her official capacity as Acting          SUPPORT OF PLAINTIFFS’
     Commissioner of the Social Security Administration; MOTION FOR A PRELIMINARY
17   U.S. DEPARTMENT OF STATE; MARCO RUBIO,                         INJUNCTION
       in his official capacity as Secretary of State; U.S.
18      DEPARTMENT OF HEALTH AND HUMAN
19      SERVICES; DOROTHY FINK, in her official
      capacity as Acting Secretary of Health and Human
20      Services; U.S. DEPARTMENT OF JUSTICE;
        JAMES MCHENRY, in his official capacity as
21   Acting Attorney General; U.S. DEPARTMENT OF
       AGRICULTURE; GARY WASHINGTON, in his
22   official capacity as Acting Secretary of Agriculture;
23        and the UNITED STATES OF AMERICA,

24                   Defendants.

25

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17        PASSPORT ................................................................................................... 11, 12

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                                      STATEMENT OF INTEREST

 2           Amici are local governments and local government officials representing 72 jurisdictions

 3   across 24 states. 1 Amici write in strong support of Plaintiffs’ motion for a preliminary injunction

 4   because of the immense harms the Executive Order entitled “Protecting the Meaning and Value
 5   of American Citizenship,” (“Order”)—the subject of Plaintiffs’ lawsuit—will cause if allowed
 6
     to go into effect.
 7
             Since the enactment of the Fourteenth Amendment, it has been well understood that
 8
     children born “in the United States, and subject to the jurisdiction thereof,” are American citizens.
 9

10   U.S. CONST. Amend. 14, § 1. With very limited exceptions (such as for children of foreign

11   diplomats not subject to U.S. “jurisdiction”) that is true regardless of the immigration status of

12   their parents. This bedrock understanding of citizenship is reflected in our communities. Children
13
     born on our soil attend our schools. When they are sick, they obtain services through local health
14
     providers. If they are neglected and abused, our child protective services step forward to help
15
     them. When they are victims of a crime, they are entitled to the full panoply of victim rights
16
     afforded to any resident. If they commit a crime, they are “subject to the jurisdiction” of our state
17

18   and federal laws and can be punished just like any other member of our community.

19           As they grow older, those who are Americans by virtue of birth serve our Nation (and our
20   communities) with distinction. They serve in our military and shed blood for our country. They
21
     are our frontline workers, medical providers, and law enforcement personnel. They start
22

23

24           1
               No party or party’s counsel authored this brief in whole or in part. No party or party’s
     counsel contributed money intended to fund preparation or submission of this brief. A list of all
25   amici is listed at Appendix A.
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 1   businesses, teach schoolchildren, and contribute to our local and national economies. They
 2   become leaders in our communities, across a variety of sectors. And when the time comes, they
 3
     start American families of their own. Like all “citizens by birth or choice,” those born on
 4
     American soil “concentrate [their] affections” in “the name of American.” 2
 5
            The Order thus stands at odds not just with the Constitution, but with our American
 6

 7   values. It rejects the contributions of “citizens by birth,” who have helped to build—and defend—

 8   our Nation and our local communities. At the local level, the Order undercuts our social fabric

 9   and cohesion by creating a permanent class of people with unequal rights. If allowed to go into
10   effect, the Order will cause residents to be restricted from full participation in the community.
11
     They will be unable to vote, serve on juries, receive federal financial aid for higher education,
12
     and run for office. Their participation will be further restricted by lack of work authorization,
13
     ineligibility for certain federal benefits, and risk of deportation. These direct effects will cause
14

15   broader harms, including to local economies, education rates, and public health outcomes.

16          Amici write separately because local governments face immediate harms from the Order

17   that overlap with yet are distinct from the harms individuals, organizations, and states must
18
     confront. Among other things, local governments must manage the administrative confusion
19
     created by the Order. Because some local governments issue birth certificates, they will need to
20
     develop new systems to ascertain the citizenship of children born in their local hospitals and
21
     within city or county lines. The Order also forces amici to develop new protocols for any
22

23

24
            2
              George Washington, FAREWELL ADDRESS TO THE PEOPLE OF THE UNITED STATES
25
     (Sept. 19, 1796) (emphasis added).
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 1   programs requiring citizenship verification, because traditional birth certificates will no longer
 2   suffice as proof of citizenship. Local communities will also contend with the personal impact to
 3
     their community members, such as restrictions on federally funded health care coverage, child
 4
     services, and educational benefits. As a result, many local governments will be forced to fund
 5
     such services themselves, further draining already scant local resources.
 6

 7                                            ARGUMENT
            The Order seeks to ignore the text of the U.S. Constitution, overrule binding Supreme
 8
 9   Court precedent, and set aside an Act of Congress, through unilateral executive action. This Court

10   should not permit it to stand.

11          Amici cities, counties, and representatives come before this Court to protect their
12   community members and their own interests by supporting Plaintiffs’ request for an injunction
13
     against the President’s executive order. It is difficult to imagine a more compelling circumstance
14
     for the issuance of nationwide relief. The Order reflects a unilateral attempt to alter the
15
     Constitution by attacking a bedrock legal tenet on which this country is built. “[P]laintiffs,”
16

17   moreover, “have demonstrated that they are likely to prevail on the merits,” and in the absence

18   of a preliminary injunction they will suffer irreparable injury. Ashcroft v. Am. Civ. Lib. Union,

19   542 U.S. 656, 666 (2004). In particular, the Order threatens to cause administrative confusion
20
     and burden, financial harm to state and local governments directly, and immeasurable harm to
21
     individuals living in amici’s jurisdictions. Declining to enter an injunction in this matter will
22
     impose grave harm to the public interest and to the very fabric of our country.
23
           I.      PLAINTIFFS ARE HIGHLY LIKELY TO SUCCEED ON THE MERITS
24
            In addition to creating an unworkable citizenship system in practical terms, the Order is
25

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 1   a flagrant attack on a pillar of American law. It contradicts the plain text of the U.S. Constitution
 2   and violates the Immigration and Nationality Act (“INA”), as codified by 8 U.S.C. § 1401(a).
 3
     The Order also runs headlong into more than a century of Supreme Court precedent holding that
 4
     babies born on U.S. soil are citizens, regardless of the immigration status of their parents. United
 5
     States v. Wong Kim Ark, 169 U.S. 649, 693 (1898). Existing law creates only a very narrow
 6

 7   exception, for children born to diplomats and passengers on foreign vessels who are not subject

 8   to prosecution under U.S. law for crimes committed in the United States. See also Plyler v. Doe,

 9   457 U.S. 202, 215 (1982) (holding that undocumented children are “within [the] jurisdiction” of
10   a State). No unilateral act of the President can overcome such clearly established law.
11
            To start, the text of the Constitution is unambiguous. As such, the “judicial inquiry is
12
     complete.” Desert Palace, Inc. v. Costa, 539 U.S. 90, 98 (2003) (internal quotations omitted).
13
     The Citizenship Clause is enshrined in the Fourteenth Amendment, Section 1: “All persons born
14

15   or naturalized in the United States, and subject to the jurisdiction thereof, are citizens of the

16   United States and of the State wherein they reside.” U.S. CONST. Amend. 14, § 1. More than a

17   century ago, the Supreme Court definitively concluded that this clause includes the children of
18
     immigrants born on U.S. soil:
19
                    The Fourteenth Amendment affirms the ancient and fundamental rule of
20          citizenship by birth within the territory, in the allegiance and under the protection
            of the country, including all children here born of resident aliens […] The
21          Amendment, in clear words and in manifest intent, includes the children born
            within the territory of the United States of all other persons, of whatever race or
22
            color, domiciled within the United States. Every citizen or subject of another
23          country, while domiciled here, is within the allegiance and the protection, and
            consequently subject to the jurisdiction, of the United States.
24
            Wong Kim Ark, 169 U.S. at 693 (emphasis added). That inescapable conclusion has been
25

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 1   affirmed multiple times by the Supreme Court in the more than 125 years since the decision. See,
 2   e.g., INS v. Rios-Pineda, 471 U.S. 444, 446 (1985) (unanimously noting undocumented resident
 3
     “had given birth to a child, who, born in the United States, was a citizen of this country”). The
 4
     Order ignores both the plain language of the Fourteenth Amendment and the Supreme Court’s
 5
     affirmation of its meaning.
 6

 7          Additionally, Congress has made clear, through the INA, that birthright citizenship is

 8   enshrined into federal law. Enacted in 1952, the INA provides that any “person born in the United

 9   States, and subject to the jurisdiction thereof” is a “citizen[] of the United States at birth.” 8
10   U.S.C. § 1401(a)). The INA mirrors the text of the Fourteenth Amendment and should be
11
     afforded the same meaning as the Citizenship Clause was understood to have at the time of
12
     enactment. See Shapiro v. United States, 335 U.S. 1, 16 (1948); see also Hecht v. Malley, 265
13
     U.S. 144, 153 (1924) (Congress “must be considered to have adopted also the construction given
14

15   by this Court to such language, and made it a part of the enactment.”). Thus, for this Order to be

16   given effect, it must be permitted to override the settled understanding of both the Constitution

17   and a federal statute. That cannot be.
18
           II.     A NATIONWIDE INJUNCTION IS NECESSARY TO PROTECT THE
19                 PUBLIC INTEREST

20          Amici fully support Plaintiffs’ request for a nationwide injunction, as any other form of
21   relief would be inadequate. The harms to Plaintiffs, state and local governments, and individuals
22
     are immediate and significant. As soon as the Order’s attempt to rewrite the Constitution goes
23
     into effect, children and families will be immediately deprived of access to needed benefits. State
24
     and local governments issuing birth certificates will need to find new ways for parents to establish
25

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 1   proof of citizenship for their children. Likewise, localities will be forced to create new procedures
 2   to confirm citizenship for participation in a host of activities, including certain benefits programs.
 3
     The impacts will be felt not just in this district, but across the country. The scope of the harm,
 4
     the clarity of the violation, and the need for uniform rules regarding citizenship counsel in favor
 5
     of a nationwide injunction.
 6

 7                  A.      Immediate Economic Harms to Communities from Stripped Benefits

 8                  The Order throws public benefit structures into chaos because of their close

 9   connection to citizenship status. As a result, families will be deprived of resources needed to
10   support their children. These common-sense and often necessary benefits make it possible for
11
     children and families to thrive and contribute to the community without fear of hunger, lack of
12
     housing, or inability to access health care. If these benefits are cut off, local governments and
13
     community-based groups will be left to fill in the gaps through the delivery of direct services.
14

15          Major benefit programs, including Medicaid, CHIP, SNAP, and TANF, are funded in

16   whole or part by the federal government and regularly administered by state and/or local

17   governments. Per federal rules, funding or reimbursement is only available to U.S. citizens and
18
     qualified immigrants, such as lawful permanent residents, refugees, and asylum recipients.
19
     8 U.S.C. §§ 1611(a), (c)(1)(B); 1641(b). Individuals with status from work visas, student visas,
20
     or tourist visas are generally not considered “qualified” immigrants for purposes of these
21
     programs. See 8 U.S.C. § 1641(b). Nor are individuals who lack any legal status. 3 Id.
22

23

24          3
             The Pew Charitable Trusts, MAPPING PUBLIC BENEFITS FOR IMMIGRANTS IN THE STATES
     (Sept. 24, 2014), https://www.pewtrusts.org/en/research-and-analysis/issue-briefs/2014/09/
25

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 1   Accordingly, the Order would strip newborns and young children born on U.S. soil of crucial
 2   public benefits. Before now, such children—born and residing in the United States—would be
 3
     immediately eligible for, at a minimum, health care through CHIP and SNAP benefits for
 4
     nutrition needs if their family met the income qualifications. But if the Order goes into effect,
 5
     those benefits will be snatched away from countless children.
 6

 7          The immediate harms will be significant. Families will struggle to make ends meet. Some,

 8   on tight budgets, will be forced to pay for their children’s healthcare out-of-pocket, increasing

 9   the risk of experiencing housing instability or other forms of economic harm. Localities, as the
10   unit of government closest to the ground, will be forced to pick up the pieces and address these
11
     cascading harms. Just as disturbing, some families may become reluctant to utilize any
12
     government services at all (due to fear of removal) which can have its own public health
13
     consequences.
14

15          At this point, the sheer breadth of the Order bears some emphasis. Though the rhetoric

16   surrounding the Order has focused on undocumented noncitizen parents, the Order would deny

17   U.S. citizenship—and the associated public benefits—not just to children of undocumented
18
     immigrants, but to those whose parents are present in our communities on work or student visas.
19
     In communities that maintain institutions of higher education, countless children of such higher-
20
     education students would be ineligible for basic programs to ensure their health and well-being.
21
     The same is true for communities whose local economies depend on those who are present in our
22

23

24   mapping-public-benefits-for-immigrants-in-the-states; Center on Budget and Policy Priorities, A
     QUICK GUIDE TO SNAP ELIGIBILITY AND BENEFITS (Sept.                              30,    2024),
25
     https://www.cbpp.org/research/food-assistance/a-quick-guide-to-snap-eligibility-and-benefits.
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 1   country on work visas. The Order also creates the absurd possibility that while a parent may have
 2   the legal right to remain in this country, their child born on American soil may be at risk of
 3
     deportation. Such family separation would inevitably wreak untold havoc in communities. Of
 4
     course, the Citizenship Clause applies categorically to “[a]ll persons born . . . in the United
 5
     States, and subject to the jurisdiction thereof.” U.S. CONST. Amend. 14, § 1 (emphasis added).
 6

 7   But in seeking to rewrite the Constitution, the Order will impose severe, unconstitutional harm

 8   not just on the children of undocumented parents, but on countless families that came to this

 9   country through accepted means.
10          In all events, local governments, among others, will be left to fill in the gaps. Where tight
11
     budgets permit it, jurisdictions may provide resources to their residents above and beyond federal
12
     baselines and regardless of immigration status. Amici might create separate programs to support
13
     the children that the Order leaves behind, which will impose additional costs to cash-strapped
14

15   local governments and their residents. To be clear: local governments which fill these gaps will

16   be forced to do more with less. Public health clinics, either run by or funded in part by amici,

17   will lose important funding streams such as Medicaid reimbursements. Economic uncertainty
18
     and the loss of public insurance coverage may cause these families to rely even more on public
19
     health services, further straining the system.
20
            And the consequences of the Order will radiate outwards not just into amici’s healthcare
21
     systems, but into their schools as well. Federal law requires schools to provide services to
22

23   students with disabilities under the Individuals with Disabilities in Education Act (IDEA). 20

24   U.S.C. § 1412(a)(1). But again: the funding stream for special-education services relies partially
25   on federal reimbursement for children who are citizens or otherwise “qualified aliens.” Schools
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 1   receive partial reimbursement from the federal government to support students with special needs
 2   who qualify for Medicaid. 4 Under the Order, schools will lose this funding for impacted students
 3
     and will again be forced to fill these funding gaps to continue providing mandated services to
 4
     students in their districts. Similarly, amici who administer foster care programs and rely on
 5
     federal Title IV-E funds for foster care expenses, will be forced to bear the financial burden to
 6

 7   provide these life-altering services. 5

 8           Over forty years ago, in Plyler, the Supreme Court held that states could not bar

 9   undocumented schoolchildren from their public schools. In so doing, the Supreme Court
10   cautioned against the creation of “a permanent caste of undocumented resident aliens . . . denied
11
     the benefits that our society makes available to citizens and lawful residents.” 457 U.S. at 218–
12
     19. The Court recognized that “a State may withhold its beneficence from” undocumented adults,
13
     “whose very presence within the United States is the product of their own unlawful conduct.” Id.
14

15   at 219. But it emphasized that the denial of benefits to “children” of undocumented persons “does

16   not comport with fundamental conceptions of justice.” Id. at 220 (emphasis added). “Visiting

17   condemnation on the head of an infant,” the Court continued, “is illogical and unjust.” Id.
18
     (quoting Weber v. Aetna Casualty & Surety Co., 406 U.S. 164, 175 (1972) (cleaned up)). After
19

20

21           4
             The Centers for Medicare and Medicaid Services, DELIVERING SERVICES IN SCHOOL-
     BASED SETTINGS: A COMPREHENSIVE GUIDE TO MEDICAID SERVICES AND ADMINISTRATIVE
22   CLAIMING (2023), https://www.medicaid.gov/medicaid/financial-management/downloads/sbs-
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25
     Funded-Foster-Care-Placements-by-Child-Generation-and-Ethnicity.PDF.
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 1   all, “no child is responsible for his birth, and penalizing the … child is an ineffectual—as well as
 2   unjust—way of deterring the parent.” Id.
 3
            When children are needlessly penalized and denied access to benefits, the harm is felt not
 4
     just by the child, but by the community writ large. Speaking to the educational benefits at issue
 5
     in Plyler, the Court reiterated that “education provides the basic tools by which individuals might
 6

 7   lead economically productive lives to the benefit of us all.” Id. at 221 (emphasis added). “We

 8   cannot ignore,” the Court emphasized, “the significant social costs borne by our Nation when

 9   select groups are denied the means to absorb the values and skills upon which our social order
10   rests.” Id. Denying children needed benefits, the Court concluded, would ultimately lead to the
11
     creation of a permanent “underclass”—the existence of which will invariably fray “the fabric of
12
     our society.” Id. at 219, 221.
13
            The Order at issue here is at least as damaging to the “fabric of our society” as the
14

15   restriction at issue in Plyler. In unilaterally seeking to rewrite the Constitution, the Order will

16   deny an “underclass” of children benefits relating not just to their education, but to their health

17   and their basic security as well. The Order, moreover, would strip citizenship (and benefits) not
18
     just from the children of undocumented adults, but also from children whose parents present in
19
     our country to work or pursue an education. Such draconian outcomes are wholly incompatible
20
     with “fundamental conceptions of justice.” Id. at 220. And if the Order goes into effect, entire
21
     communities will suffer. Local governments should not be forced to bear the burden of repairing
22

23   the “fabric of our society” that will be so irreparably damaged by the Order.

24                  B.      Immediate Administrative Burdens to Local Governments
25                  In addition to imposing draconian harms on children, families, and communities,
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 1   the Order threatens to upend existing local administration of programs as well as the issuance of
 2   birth certificates. Typically—and reflecting the bedrock understanding that all children born in
 3
     the United States and subject to its jurisdiction are citizens—proof of citizenship can be satisfied
 4
     with a birth certificate demonstrating that a child was born in America. 6 However, any future
 5
     instance where citizenship verification is required will demand more information for all
 6

 7   individuals. Local governments routinely provide birth certificates for children born within their

 8   jurisdiction. 7 Birth certificates note the place of birth, which until now has sufficed to prove

 9   natural-born citizenship, but they do not document the citizenship of the parents. Under the
10   Executive Order, a birth certificate, which is created by local or state governments, would no
11
     longer prove citizenship.
12
             With a birth certificate no longer proving citizenship, existing systems will fail. Even
13
     children who are born to citizens or lawful permanent resident parents, and are thus born U.S.
14

15

16

17           6
                  See, e.g., USCIS, HOW DO I GET MY PROOF OF CITIZENSHIP?,
     https://www.uscis.gov/sites/default/files/document/guides/A4en.pdf (“If you were born in the
18
     United States, you do not need to apply to USCIS for any evidence of citizenship. Your birth
19   certificate issued where you were born is proof of your citizenship.”); U.S. Department of State,
     GET CITIZENSHIP EVIDENCE FOR A U.S. PASSPORT, https://travel.state.gov/content/
20   travel/en/passports/how-apply/citizenship-evidence.html (listing a birth certificate as the only
     acceptable primary documentation of citizenship for a first-time passport applicant born in the
21   United States).
             7
22            See, e.g., BIRTH RECORDS OR DEATH CERTIFICATES FROM THE COOK COUNTY CLERK’S
     OFFICE,                                 Cook                  County,                 Illinois,
23   https://www.chicago.gov/city/en/depts/other/provdrs/ccco/svcs/get_vital_
     records.html, and HOW TO REQUEST A BIRTH OR DEATH CERTIFICATE, Kansas City, Missouri
24
             https://www.kcmo.gov/city-hall/departments/health/how-to-request-a-birth-or-death-
25   certificate.
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 1   citizens under the Order, would lack sufficient documentation to verify their citizenship. 8 States
 2   and local governments will need to change the information provided on birth certificates or
 3
     develop a process to verify citizenship, which will require time and expense. As a result, the
 4
     Order will cause massive administrative dysfunction. For example, when a city resident applies
 5
     for a federal public benefits program, amici may be involved in verifying the citizenship of
 6

 7   applicants, either by (until now) checking the applicant’s birth certificate or through “SAVE”

 8   (Systematic Alien Verification for Entitlements), a fee-based federal program that confirms the

 9   immigration status and/or the naturalized/acquired U.S. citizenship of a person not born in the
10   United States. 9 This additional verification system is set up only for individuals who were born
11
     in another country. 10 With U.S. birth certificates no longer proving citizenship, if the Order goes
12
     into effect, local governments will functionally have no way to verify citizenship for a large
13
     majority of eligible residents.
14

15                  C.      The Need for Nationwide Relief

16                  As amici have detailed above, the legal problems with the Order are significant

17

18

19          8
              For example, even the acceptable secondary evidence of citizenship for a U.S. passport
     application must be evidence that the person was born in the United States. U.S. Department of
20   State, GET CITIZENSHIP EVIDENCE FOR A U.S. PASSPORT, https://travel.state.gov/
21   content/travel/en/passports/how-apply/citizenship-evidence.html.
            9
               The FY2025 cost for non-federal agency searches is $1.50. U.S. Citizenship and
22   Immigration Services, TRANSACTION CHARGES, https://www.uscis.gov/save/about-save/
23   transaction-charges.
            10
               The system’s accepted forms of identification include documents issued to persons who
24   immigrate into the U.S., such as an Alien Registration Number, Arrival or Departure Record,
     visa information, or a naturalization certificate. U.S. Citizenship and Immigration Services,
25
     VERIFICATION PROCESS, https://www.uscis.gov/save/about-save/save-verification-process.
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 1   and the harms extend well beyond this district and the parties to the litigation. Nationwide relief
 2   is most appropriate here.
 3
            To start, it would make little sense for relief to be limited given the need for uniformity.
 4
     Issues of immigration and citizenship are national in scope. See, e.g., Arizona v. United States,
 5
     132 S. Ct. 2492, 2494 (2012) (recognizing the federal government has “constitutional power to
 6

 7   ‘establish an uniform Rule of Naturalization’”) (citing U.S. CONST. ART. I, § 8, cl. 4).

 8   Additionally, limited relief would create a strange divergence of rights across the country. As

 9   this case (and other cases) winds its way through the courts, some people would be subject to the
10   Order while others are not, absent nationwide relief. Such a scenario would only add to the
11
     administrative burden imposed by the Order. Those determining citizenship based on place of
12
     birth would need to know when and where someone was born and then determine if they were
13
     protected by an injunction from this or another court at that moment in time. See also HIAS v.
14

15   Trump, 985 F.3d 309, 326-27 (4th Cir. 2021) (affirming nationwide injunction when agencies

16   “place[d] refugees throughout the country”).

17          Many of the jurisdictions represented in this coalition of local governments and officials
18
     are not located in states where attorneys general or other parties are pursuing a case to enjoin the
19
     Order. Nevertheless, amici’s communities will suffer greatly from the Order. As outlined above
20
     (Part II.A), loss of federal benefits will have serious economic security and public health impacts.
21
     Absent nationwide relief, our jurisdictions may need to bring additional lawsuits, intervene in
22

23   existing actions, or take other steps to ensure protection for our governments and our

24   communities. That would be inefficient for our communities and the judiciary. Finally, the
25   federal government suffers no prejudice from a nationwide injunction. After all, it has recognized
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 1   birthright citizenship at least since ratification of the 14th Amendment.
 2                                           CONCLUSION
 3          For the foregoing reasons and for the reasons provided by Plaintiffs, amici respectfully
 4   request this Court issue a preliminary injunction and enjoin the Order from going into effect.
 5

 6
            Dated: January 28, 2025
 7

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 1                       Appendix A – List of Amici Curiae
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 8                       Town of Chapel Hill, North Carolina
 9
                                  City of Chicago, Illinois
10
                                  City of Columbus, Ohio
11
                         City and County of Denver, Colorado
12

13                               County of El Paso, Texas

14                            City of Minneapolis, Minnesota

15                            County of Monterey, California
16
                          County of Montgomery, Maryland
17
                         City of Northampton, Massachusetts
18
                                City of Oakland, California
19
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20

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 1                             City of Tucson, Arizona
 2                        City of West Hollywood, California
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                                                                2800 FIRST AVENUE, SUITE 326
      GOVERNMENTS AND LOCAL
                                                                     SEATTLE, WA 98121
       GOVERNMENT OFFICIALS                                               206.337.6551
           NO. 2:25-cv-00127
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 1                                Clifford Thompson
               Board Director, Oakland Unified School District, California
 2

 3                                Jeronimo Vasquez
                         Supervisor, Coconino County, Arizona
 4
                                    Anissa Welch
 5                          Mayor, City of Milton, Wisconsin
 6                                  Braxton White
 7                    Commissioner, Clarion County, Pennsylvania

 8                                   Robin Wilt
                      Councilmember, Town of Brighton, New York
 9
                                 Jamila H. Winder
10                 Commissioner, Montgomery County, Pennsylvania
11

12                                 Randall Woodfin
                          Mayor, City of Birmingham, Alabama
13
                                      Chuy Zárate
14
                 Trustee, Round Rock Independent School District, Texas
15

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